                              Case 18-12012-LSS                     Doc 1        Filed 09/06/18            Page 1 of 18
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                   Delaware
 ____________________ District of _________________
                                       (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         /1

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Open Road Films, LLC, a Delaware limited liability company
                                           ______________________________________________________________________________________________________




2.   All other names debtor used            f/k/a REGAMC Releasing, LLC
                                           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             2 ___
                                           ___ 7 –4   7 ___
                                                  ___ ___ 2 ___
                                                             4 ___
                                                                4 ___
                                                                   3 ___
                                                                      5
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            2049 Century Park East
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            4th Floor
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Los Angeles                CA      90067
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Los Angeles
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                www.globalroadentertainment.com
                                           ____________________________________________________________________________________________________


                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor          Open  Road Films, LLC, a Delaware limited liability company
                _______________________________________________________                       Case number (if known)_____________________________________
                Name



                                        A. Check one:
7.    Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        ✔ None of the above
                                        

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.naics.com/search/ .
                                            5 ___
                                           ___ 1 ___
                                                  2 ___
                                                     1

8.    Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                        ✔ Chapter 11. Check all that apply:
                                        
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,,5 (amount subject to adjustment on
                                                            4/01/1 and every 3 years after that).
                                                        
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                           A plan is being filed with this petition.

                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
9.    Were prior bankruptcy cases       ✔ No
                                        
      filed by or against the debtor
      within the last 8 years?           Yes.    District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY

10.   Are any bankruptcy cases           No
      pending or being filed by a
      business partner or an            ✔ Yes.
                                                        See Attachment 1
                                                  Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                    District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                     Case number, if known ________________________________


     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor        Open  Road Films, LLC, a Delaware limited liability company
              _______________________________________________________                      Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this   Check all that apply:
      district?                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                       A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have     ✔ No
                                      
      possession of any real           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                    Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.

                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                  Other _______________________________________________________________________________



                                              Where is the property?_____________________________________________________________________
                                                                         Number          Street

                                                                         ____________________________________________________________________

                                                                         _______________________________________         _______     ________________
                                                                         City                                            State       ZIP Code


                                              Is the property insured?
                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________

                                                        Contact name     ____________________________________________________________________

                                                        Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of          Check one:
      available funds                 ✔ Funds will be available for distribution to unsecured creditors.
                                      
                                       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                       1-49                           ✔ 1,000-5,000
                                                                                                                 25,001-50,000
14.   Estimated number of              50-99                           5,001-10,000                             50,001-100,000
      creditors
                                       100-199                         10,001-25,000                            More than 100,000
                                       200-999

                                       $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                 $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                       $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                       $500,001-$1 million            ✔ $100,000,001-$500 million
                                                                                                                 More than $50 billion



  Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor            Open Road Films, LLC, a Delaware limited liability company                               case number (if komw,)
                  Name


                                             Li   $0-$50,000                         Li $1,000,001-$10 million                        Li   $500,000001-$1 billion
16.   Estimated liabilities                  Li   $50,001-$100,000                   Li $10,000,001 -$50 million                      Li   $1,000,000,001-$10 billion
                                             Li   $100,001-$500,000                  Li $50,000,001-$100 million                      Li   $10,000,000,001 -$50 billion
                                             Li   $500,001-$1 million                ~ $100,000,001-$500 million                      Li   More than $50 billion



             Request for Relief, Declaration, and Signatures


WARNING      --    Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                   $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §~ 152, 1341, 1519, and 3571.


17.   Declaration and signature of           c    The debtor requests relief in accordance with the chapter of title 11, united States Code, specified in this
      authorized representative of                petition.
      debtor
                                                  I have been authorized to file this petition on behalf of the debtor.

                                                  I have examined the information in this petition and have a reasonable belief that the information is true and
                                                  correct.


                                             I declare under penalty of perjury       that the foregoing    is true and correct.

                                                  Executed on        09/ 06 /2018
                                                                  MM /DD/YYYY

                                              x ~C_-~~------~                                                        Amir Agam
                                                  Signature of auttiOff~ representative of debtor                    Printed name

                                                  Title   Chief Restructuring Officer




18. Signature of attorney                     x     /s/ Michael R. Nestor                                            Date             09/ 06 /2018
                                                  Signature of attorney for debtor                                                  MM     /DD /YYYY



                                                   Michael R. Nestor, Esg.
                                                  Printed name
                                                  Young Conaway Stargatt & Taylor, LLP
                                                  Firm name
                                                   Rodney Sguare, 1000 North King Street
                                                  Number          Street
                                                  Wilmington                                                                     DE          19801
                                                  city                                                                   State              ZIP code

                                                   (302) 571-6600                                                           mnestor(~ycst.com
                                                  Contact phone                                                          Email address


                                                   3526                                                                          DE
                                                  Bar number                                                             State




 Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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    


                             ATTACHMENT 1 TO VOLUNTARY PETITION

               On the date hereof, each of the affiliated entities listed below (including the

    debtor in this chapter 11 case) filed a voluntary petition for relief under chapter 11 of title

    11 of the United States Code in the United States Bankruptcy Court for the District of

    Delaware (the “Court”). A motion will be filed with the Court requesting that the chapter

    11 cases of these entities be consolidated for procedural purposes only and jointly

    administered.

                                                                                     Federal Employer
                                       Debtor                                          Identification
                                                                                          Number

Open Road Films, LLC, a Delaware limited liability company                               XX-XXXXXXX

Open Road Releasing, LLC, a Delaware limited liability company                           XX-XXXXXXX

OR Productions LLC, a Delaware limited liability company                                 XX-XXXXXXX

Briarcliff LLC, a Delaware limited liability company                                     XX-XXXXXXX

Open Road International LLC, a Delaware limited liability company                        XX-XXXXXXX

Empire Productions LLC, a Delaware limited liability company                             XX-XXXXXXX




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&DVH QXPEHU LI NQRZQ BBBBB

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                                                                                                                                             DPHQGHG ILOLQJ

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Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest
Unsecured Claims and Are Not Insiders, on a Consolidated Basis                                                                                         

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/DUJHVW XQVHFXUHG FODLPV

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                                 Case 18-12012-LSS                   Doc 1      Filed 09/06/18       Page 11 of 18
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    FRGH                                FRQWDFW                       IRU H[DPSOH          FRQWLQJHQW   FODLP DPRXQW ,I FODLP LV SDUWLDOO\ VHFXUHG ILOO LQ
                                                                      WUDGH GHEWV           XQOLTXL      WRWDO FODLP DPRXQW DQG GHGXFWLRQ IRU YDOXH RI
                                                                      EDQN ORDQV            GDWHG RU     FROODWHUDO RU VHWRII WR FDOFXODWH XQVHFXUHG FODLP
                                                                      SURIHVVLRQDO           GLVSXWHG
                                                                      VHUYLFHV DQG                        7RWDO FODLP LI    'HGXFWLRQ IRU      8QVHFXUHG
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 $OOLHG ,QWHJUDWHG 0DUNHWLQJ          SDUWQHUV#PHGLDWHPSOHQHW              7UDGH 9HQGRU     &                                                
    +ROO\ZRRG %OYG                 7HO 
   +ROO\ZRRG &$                    )D[                                       8
                                                                                               '
 8QLYLVLRQ                            %U\QQH 6DUVILHOG 93 $G 6DOHV         7UDGH 9HQGRU     &                                                
    &HQWHU 'ULYH                    EVDUVILHOG#XQLYLVLRQQHW
   /RV $QJHOHV &$                  7HO                                       8
                                                                                               '
2IILFLDO )RUP          &KDSWHU  RU &KDSWHU  &DVHV /LVW RI &UHGLWRUV :KR +DYH WKH  /DUJHVW 8QVHFXUHG &ODLPV                                  3DJH 
                                Case 18-12012-LSS                     Doc 1      Filed 09/06/18      Page 12 of 18
'HEWRU    OPEN ROAD FILMS, LLC                                                                                        &DVH QXPEHU LI NQRZQ BBBBB

    1DPH RI FUHGLWRU DQG FRPSOHWH         1DPH WHOHSKRQH QXPEHU       1DWXUH RI WKH        ,QGLFDWH LI   $PRXQW RI XQVHFXUHG FODLP
    PDLOLQJ DGGUHVV LQFOXGLQJ ]LS        DQG HPDLO DGGUHVV RI FUHGLWRU FODLP                FODLP LV      ,I WKH FODLP LV IXOO\ XQVHFXUHG ILOO LQ RQO\ XQVHFXUHG
    FRGH                                  FRQWDFW                       IRU H[DPSOH        FRQWLQJHQW   FODLP DPRXQW ,I FODLP LV SDUWLDOO\ VHFXUHG ILOO LQ
                                                                        WUDGH GHEWV         XQOLTXL      WRWDO FODLP DPRXQW DQG GHGXFWLRQ IRU YDOXH RI
                                                                        EDQN ORDQV          GDWHG RU     FROODWHUDO RU VHWRII WR FDOFXODWH XQVHFXUHG FODLP
                                                                        SURIHVVLRQDO         GLVSXWHG
                                                                        VHUYLFHV DQG                      7RWDO FODLP LI    'HGXFWLRQ IRU      8QVHFXUHG
                                                                        JRYHUQPHQW                         SDUWLDOO\          YDOXH RI           FODLP
                                                                        FRQWUDFWV                         VHFXUHG            FROODWHUDO RU
                                                                                                                              VHWRII

 7ZLWWHU ,QF                          0ROLND 5LQ )LQDQFH                 7UDGH 9HQGRU     &                                                
    0DUNHW 6WUHHW                     PULQ#WZLWWHUFRP
                                      7HO                                     8
   6DQ )UDQFLVFR &$ 
                                                                                               '
 ,QWHUQDWLRQDO $OOLDQFH RI 7KHDWULFDO   0LFKDHO %DUQHV 93                  *XLOG            &                                                
   6WDJH (PSOR\HHV                        7HO 
    5LYHUVLGH 'ULYH                  )D[                                     8
   7ROXFD /DNH &$ 
                                                                                               '
 $PD]RQFRP ,QF                       $VKOH\ 0XVVHOPDQ                    7UDGH 9HQGRU     &                                                
    WK 6WUHHW                       PXVDVKOH#DPD]RQFRP
   1RUWK %XLOGLQJ                         7HO                                     8
   6DQWD 0RQLFD &$ 
                                                                                               '
 'ROSKLQ 0D[ 6WHHO +ROGLQJV //&        :LOOLDP 2
'RZG                      7UDGH 9HQGRU     &                                                
    6 /H-HXQH 5G
   6XLWH                                                                                    8
   &RUDO *DEOHV )/ 
                                                                                               '
 $0& 7KHDWUHV                           -RKQ 0HUULZHWKHU 93
                                          ,QYHVWRU5HODWLRQV#DPFWKHDWUHVFRP
                                                                              7UDGH 9HQGRU     &                                                
    $VK 6WUHHW
   /HDZRRG .6                        7HO                                     8
                                                                                               '
 7KH &: 7HOHYLVLRQ 1HWZRUN              'DYLG 5\DQ $FFRXQW ([HFXWLYH 7UDGH 9HQGRU           &                                                
    $YHQXH RI WKH $PHULFDV            GDYLGU\DQ#FZWYFRP
   QG )ORRU                             7HO                                     8
   1HZ <RUN 1< 
                                                                                               '
 /DWKDP 	 :DWNLQV //3                   -HIIUH\ % *UHHQEHUJ (VT          3URIHVVLRQDO     &                                                
    6RXWK *UDQG                        MHIIUH\JUHHQEHUJ#OZFRP
   6XLWH                               7HO                                     8
   /RV $QJHOHV &$                    )D[ 
                                                                                               '
 &LQHGLJP 'LJLWDO &LQHPD &RUS          &KULVWRSKHU - 0F*XUN &(2          7UDGH 9HQGRU     &                                                
    9HQWXUD %RXOHYDUG                7HO 
   %OGJ % 6XLWH                      )D[                                     8
   6KHUPDQ 2DNV &$ 
                                                                                               '
 6ZLVKHU 3URGXFWLRQV //&                0DJJLH 6ZLVKHU 2IILFHU             7UDGH 9HQGRU     &                                                
    1 *RZHU 6WUHHW                   7HO ͒
   %R[                                                                                        8
   +ROO\ZRRG &$ 
                                                                                               '
 *LDURQRPR 3URGXFWLRQV ,QF              3KLOOLS 'DFFRUG 93                 7UDGH 9HQGRU     &                                                
    %URDGZD\                          SGDFFRUG#JLDURQRPRFRP
   6XLWH                              7HO                                     8
   1HZ <RUN 1<                       )D[ 
                                                                                               '
 5RNX ,QF                             0HOLVVD /RYH $FFRXQW               7UDGH 9HQGRU     &                                                
    &RORUDGR $YH                     ([HFXWLYH
   6XLWH (                             7HO                                     8
   /RV $QJHOHV &$                    )D[ 
                                                                                               '
 6SRWLI\ 7HFKQRORJ\                     0LFKDHO : 0F&XUG\ $FFRXQW          7UDGH 9HQGRU     &                                                
    : 6XQVHW %OYG                   'LUHFWRU
   :HVW +ROO\ZRRG &$                 PLFKDHOPFFXUG\#VSRWLI\FRP                           8
                                          7HO 
                                                                                               '


2IILFLDO )RUP           &KDSWHU  RU &KDSWHU  &DVHV /LVW RI &UHGLWRUV :KR +DYH WKH  /DUJHVW 8QVHFXUHG &ODLPV                                 3DJH 
                                 Case 18-12012-LSS            Doc 1      Filed 09/06/18          Page 13 of 18
'HEWRU    OPEN ROAD FILMS, LLC                                                                                    &DVH QXPEHU LI NQRZQ BBBBB

    1DPH RI FUHGLWRU DQG FRPSOHWH       1DPH WHOHSKRQH QXPEHU       1DWXUH RI WKH      ,QGLFDWH LI   $PRXQW RI XQVHFXUHG FODLP
    PDLOLQJ DGGUHVV LQFOXGLQJ ]LS      DQG HPDLO DGGUHVV RI FUHGLWRU FODLP              FODLP LV      ,I WKH FODLP LV IXOO\ XQVHFXUHG ILOO LQ RQO\ XQVHFXUHG
    FRGH                                FRQWDFW                       IRU H[DPSOH      FRQWLQJHQW   FODLP DPRXQW ,I FODLP LV SDUWLDOO\ VHFXUHG ILOO LQ
                                                                      WUDGH GHEWV       XQOLTXL      WRWDO FODLP DPRXQW DQG GHGXFWLRQ IRU YDOXH RI
                                                                      EDQN ORDQV        GDWHG RU     FROODWHUDO RU VHWRII WR FDOFXODWH XQVHFXUHG FODLP
                                                                      SURIHVVLRQDO       GLVSXWHG
                                                                      VHUYLFHV DQG                    7RWDO FODLP LI    'HGXFWLRQ IRU      8QVHFXUHG
                                                                      JRYHUQPHQW                       SDUWLDOO\          YDOXH RI           FODLP
                                                                      FRQWUDFWV                       VHFXUHG            FROODWHUDO RU
                                                                                                                          VHWRII

 $	( 1HWZRUNV                         /DXUHQ %DXP 6WRQH          7UDGH 9HQGRU            &                                                
    &HQWXU\ 3DUN (DVW               /DXUHQ%DXP#DHQHWZRUNVFRP
                                                                                      8
   /RV $QJHOHV &$                  7HO 
                                                                                           '
 6RQ\ (OHFWURQLFV ,QF               &DUO\ .LQEHUJ $FFRXQW        7UDGH 9HQGRU         &                                                
    9LD (VSULOOR                   ([HFXWLYH
   6DQ 'LHJR &$                    FDUO\BNLQEHUJ#VSHVRQ\FRP                         8
                                        7HO 
                                                                                           '
 3DQGRUD 0HGLD ,QF                    0DULDQD (VWHSKDQLDQ 6DOHV    7UDGH 9HQGRU         &                                                
    2FHDQ 3DUN %OYG                ([HFXWLYH
   6DQWD 0RQLFD &$                 PHVWHSKDQLDQ#SDQGRUDFRP                           8
                                        7HO 
                                                                                           '
 1DWLRQDO 5HVHDUFK *URXS ,QF        -RQ 3HQQ &(2                 7UDGH 9HQGRU         &                                                
    : -HIIHUVRQ %OYG                MRQSHQQ#QUJPUFRP
   /RV $QJHOHV &$                  7HO                                   8
                                                                                           '
 5KLQR (QWHUWDLQPHQW &RPSDQ\          3DWWL &ROHPDQ 693            7UDGH 9HQGRU         &                                                
    : 2OLYH $YHQXH                  7HO 
   %XUEDQN &$                      )D[                                   8
                                                                                           '
 /RUHQ 6FKZDUW]                       3KLOOLS .RVV\                 /LWLJDWLRQ 3DUW\     &                                                
   FR 3URFRSLR &RU\ +DUJUHDYHV 	       SKLOOLSNRVV\#SURFRSLRFRP
   6DYLWFK //3                          7HO                                   8
    % 6WUHHW
   6WH 
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   6DQ 'LHJR &$ 

 -RVKXD 'HXWVFK                       6WHYHQ .UROO                  /LWLJDWLRQ 3DUW\     &                                                
   FR %HQW &DU\O 	 .UROO //3          VNUROO#EFNOHJDOFRP
    :LOVKLUH %OYG                   7HO                                   8
   6WH 
   /RV $QJHOHV &$ 
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 (UZLQ 3HQODQG //&                    $OOHQ %RVZRUWK &22           7UDGH 9HQGRU         &                                                
    ( &RXUW 6WUHHW                  7HO 
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   *UHHQYLOOH 6& 
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 +XOX                                 %ULDQ $QGHUVRQ $FFRXQW       7UDGH 9HQGRU         &                                                
    %URDGZD\                        ([HFXWLYH
   6DQWD 0RQLFD &$                 EULDQDQGHUVRQ#KXOXFRP                            8
                                        7HO 
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                                                                                           '




2IILFLDO )RUP            &KDSWHU  RU &KDSWHU  &DVHV /LVW RI &UHGLWRUV :KR +DYH WKH  /DUJHVW 8QVHFXUHG &ODLPV                            3DJH 
                            Case 18-12012-LSS                     Doc 1             Filed 09/06/18                     Page 14 of 18



Fill in this information to identify the case and this filing
~        ~r name:
  United States Bankruptcy Court for the: District of Delaware
  Case number (if known): 18-



 Official Form 202
 Declaration                Under Penalty of Perjury for Non-Individual                                                          Debtors         12/15

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.
 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 u.s.c. §~ 152, 1341,
 1519, and 3571.


              Declaration and signature



       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
       another individual serving as a representative of the debtor in this case.
       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


           Schedule A/B: Assets—Real and Personal Property (Official Form 206A1B)
           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206E1F)
       0   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       DSchedule H: Codebtors (Official Form 206H)
       0   Summaiy of Assets and Liabilities for Non-Individuals (Official Form 2O6Sum)
       DAmended Schedule
       EChapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders, on a
           Consolidated Basis (Official Form 204)
       0 Other   document that requires a declaration    _____________________________________________________________________________




       I declare under penalty of perjury that the foregoing is true and correct.


       Executed on          06
                         09/_/2018                                 x
                          MM/DD~ñ~(

                                                                        Signa ore of individual sig~~~5att of debtor

                                                                         AmirAgam
                                                                        Printed name

                                                                        Chief Restructuring Officer
                                                                        Position or relationship to debtor




Official Form 202                      Declaration Under Penalty of Perjury for Non-Individual Debtors                                     Page 1 of 1
                 Case 18-12012-LSS            Doc 1      Filed 09/06/18       Page 15 of 18



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE


In re                                                       Chapter 11

OPEN ROAD FILMS, LLC, a Delaware                            Case No.: 18-______ (___)
limited liability company,1
                                                            (Joint Administration Requested)
                          Debtor.


                CORPORATE OWNERSHIP STATEMENT PURSUANT TO
            FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

           I, Amir Agam, declare under penalty of perjury under the laws of the United States of

America, to the best of my knowledge, information, and belief, as follows:

           I am the Chief Restructuring Officer of Open Road Films, LLC, a Delaware limited

liability company (the “Debtor”).

           The following entity directly owns more than 10% of the equity interests of the Debtor:

                  Open Road Releasing, LLC, a Delaware limited liability company (100%)
                  2049 Century Park East, 4th Floor
                  Los Angeles, CA 90067




1
    The Debtor’s address and last four digits of its federal taxpayer identification number are: 2049 Century Park
    East, 4th Floor, Los Angeles, CA 90067 (4435-Del.).




171640.1
                                Case 18-12012-LSS                  Doc 1           Filed 09/06/18                Page 16 of 18


  Fill in this information to identify the case and this filing


  Debtor   Name OPEN ROAD FILMS, LLC
  United States Bankruptcy Court for the:                                           Delaware
                                                                       District of ______________
                                                                                   (State>
  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12115
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §~ 152, 1341,
1519, and 3571.



                Declaration and signature



            am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
           another individual serving as a representative of the debtor in this case.

           I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


           LI    Schedule A/B: Assets—Real and Personal Property (Official Form 206A1B)
           LI    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           LI    Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
           LI    Schedule G: Executo,y Contracts and Unexpired Leases (Official Form 206G)
           LI    Schedule H: Codebtors (Official Form 2061-1)

           LI    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
           LI    Amended Schedule

           LI    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

           ~ Other document that requires a declaration Corporate Ownership Statement Pursuant to F.R.B.P. 1007 and 7007.1




           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on      09/06 /2018                       X           ,iC~-~---~,/’                 _.~—‘‘

                            MM I DD / YYYY                         Signature of individual si~~~&t behalf of debtor



                                                                   AmirAgam
                                                                   Printed name

                                                                    Chief Restructuring Officer
                                                                   Position or relationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
                 Case 18-12012-LSS            Doc 1      Filed 09/06/18       Page 17 of 18



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE


In re                                                       Chapter 11

OPEN ROAD FILMS, LLC, a Delaware                            Case No.: 18-______ (___)
limited liability company,1
                                                            (Joint Administration Requested)
                          Debtor.


                VERIFIED LIST OF EQUITY SECURITY HOLDERS OF
             OPEN ROAD FILMS, LLC, A DELAWARE LIMITED LIABILITY
           COMPANY, SUBMITTED IN ACCORDANCE WITH FEDERAL RULE OF
                       BANKRUPTCY PROCEDURE 1007(a)(3)

           I, Amir Agam, am the Chief Restructuring Officer of Open Road Films, LLC, a Delaware

limited liability company (the “Debtor”). I hereby certify under penalty of perjury under the

laws of the United States that, to the best of my knowledge, information, and belief, the

following constitutes a complete and correct list of the equity security holders of the Debtor:

                 Open Road Releasing, LLC, a Delaware limited liability company (100%)
                 2049 Century Park East, 4th Floor
                 Los Angeles, CA 90067




1
    The Debtor’s address and last four digits of its federal taxpayer identification number are: 2049 Century Park
    East, 4th Floor, Los Angeles, CA 90067 (4435-Del.).




171648.1
                                Case 18-12012-LSS                 Doc 1           Filed 09/06/18        Page 18 of 18


  Fill in this information to identify the case and this filing


               OPEN ROAD RLMS, LLC
  Debtor Name ______________________________
  United States Bankruptcy Court for the:                                          Delaware
                                                                      District of ______________
                                                                                  (state)
  Case number (If kncwn):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §~ 152, 1341,
1519, and 3571.



               Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.
          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          LI    Schedule A/B: Assets—Real and Personal Property (Official Form 206NB)
          LI    Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 206D)
          LI    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E1F)
          LI    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          LI    Schedule H: Codebtors (Official Form 206H)

          LI    Summary of Assets and Liabilities for Non-Individuals (Official Form 2O6Sum)
          LI    Amended Schedule

          LI    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                Other document that requires a declaration Verified List of Equity Security Holders Submitted in Accordance with F.R.B.P. 1007(a)(3)




         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on        09/06/2018
                            MM I DD I YYYY
                                                            X            /~-~_~                    i
                                                                  Signature of individual ~~g~~aIf of debtor



                                                                  Amir Agam
                                                                  Printed name

                                                                  Chief Restructuring Officer
                                                                  Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
